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IN THE UNITED STATES DISTRICT COURT ' `/ `

FOR THE WESTERN DISTRICT OF TENNESSE;§ /951'? <=)5)
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UNITED sTATES OF AMERICA, ) ”7
)
Plaintiff, )
)
Vs. ) NO. 04-10100-T
)
BARRY WHITE, )
)
Defendant. )

 

ORDER DENYING MOTION TO SUPPRESS EVIDENCE

 

Defendant Barry White, by and through counsel, has moved to suppress the evidence
obtained during a search and seizure of a residence located at “the last house on the West side
and north end of Burton Street, Jackson, TN” on or about February 23, 2004. A hearing on
the motion to suppress Was held on July l, 2005, at which time the court heard the testimony
of Witnesses and statements of counsel. Based upon the evidence presented, and for the
reasons Stated in open court on July l, 2005, defendant’s motion to suppress is denied.

IT IS SO ORDERED.

OMDM

S D. TODD
ED STATES DISTRICT .TUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CR-10100 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

